     Case: 1:23-cv-07195 Document #: 46 Filed: 12/08/23 Page 1 of 2 PageID #:1463




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

SMOOTHAIR, INC., d/b/a Form-A-Funnel,
Inc.                                                Case No. 23-cv-7195

               Plaintiff,                           Judge Manish S. Shah

v.                                                  Magistrate Judge Jeffrey Cummings

THE PARTNERSHIPS AND
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE “A,”
               Defendants.

                  PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL
        Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff hereby
dismisses with prejudice all causes of action in the amended complaint against the following
Defendants identified in Schedule A. Each party shall bear its own attorney’s fees and costs.

     Def No.                                      Defendant
      #55                                         Hanleistore

        The respective Defendants have not filed an answer to the complaint or a motion for
summary judgment in this matter. Therefore, it is respectfully submitted that dismissal under Rule
41(a)(1) is appropriate.



Date: December 8, 2023                              Respectfully submitted,

                                                    /S/BRANDON BEYMER
                                                    BRANDON BEYMER (ARDC NO. 6332454)
                                                    DALIAH SAPER (ARDC NO. 6283932)
                                                    SAPER LAW OFFICES, LLC
                                                    505 N. LASALLE, SUITE 60654
                                                    CHICAGO, ILLINOIS 60654
                                                    (312) 527-4100
                                                    BRANDON@SAPERLAW.COM
                                                    DS@SAPERLAW.COM

                                                    ATTORNEYS FOR PLAINTIFF
    Case: 1:23-cv-07195 Document #: 46 Filed: 12/08/23 Page 2 of 2 PageID #:1464




                                CERTIFICATE OF SERVICE
       I hereby certify that on December 8, 2023, I will electronically file the foregoing with the

Clerk of the Court using the CM/ECF system and I will send an e-mail to the e-mail addresses

provided for the relevant Defendant(s) by third parties.

                                                                    /s/ Brandon Beymer
                                                                      Brandon Beymer
